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 6

 7                        UNITED STATES DISTRICT COURT
 8                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
     TODD DILLON, individually and on
10
     behalf of all others similarly situated,      CASE NO. 2:20-cv-04243-CBM-AS
11
                        Plaintiff,
12
                                                   PLAINTIFF’S NOTICE OF
13   v.                                            DISMISSAL
14
     UNIVERSAL PROMOTE, INC., a
15   Delaware corporation,
16                       Defendant.
17         Plaintiff Todd Dillon hereby gives notice of the dismissal of this action
18
     without prejudice, with each party to bear its own attorneys’ fees and costs.
19

20                                              Respectfully Submitted,
21

22   Dated: October 12, 2020                    By: /s/ Rachel E. Kaufman
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